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         I am a trial lawyer.”
    –Ron Motley (1944–2013)


   August 12, 2021

   VIA ECF

    The Honorable Joan N. Ericksen
    United States District Court
    District of Minnesota
    12W U.S. Courthouse
    300 South Fourth Street
    Minneapolis, MN 55415


   Re:         Sohmer et al. v. UnitedHealth Group Inc. et al.,
               Civil Action No. 0:18-cv-03191 (JNE/BRT) (D. Minn.)

   Dear Judge Ericksen:

   At the conclusion of oral argument on August 3, 2021, in light of the pending motions for both
   class certification and summary judgment, Plaintiff raised the issue of one-way intervention—
   that is, whether Defendants object to having the summary judgment motion resolved before the
   decision on class certification (and the notice/opt-out period, if applicable). See Hartley v.
   Suburban Radiologic Consultants, Ltd., 295 F.R.D. 357, 368-69 (D. Minn. 2013) (postponing
   merits determination “until after class members have been given notice in order to avoid the
   problem of ‘one-way intervention’—whereby a potential class member could await the outcome
   of a determination on the merits before deciding whether to join the class” (internal quotation
   marks omitted)).

   Plaintiff writes to apprise the Court that Plaintiff has conferred with Defendants regarding their
   position. Defendants responded by stating: “Both motions are before the Court and we believe it
   is up to the Court in which order they are resolved. We don’t see a need to raise anything with
   the Court.” Absent any objection by Defendants as to the order in which the motions are
   resolved, Plaintiff likewise defers to the Court.

   Respectfully submitted,

         /s/
   Mathew P. Jasinski

   cc: All counsel of record (via ECF).




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